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                              UNITED STATES DISTRICT COURT                        SP

                        FOR THE MIDDLE DISTRICT OF TENNESSEE

                                     NASHVILLE DIVISION


UNITED STATES OF AMERICA                          )
                                                  )
                                                  )
       v.                                         )    No. 3:15-00072-2
                                                  )    Chief Judge Sharp
                                                  )
MONTEZ LARON GRAY                                 )

                                   MOTION TO BE RELIEVED

       Comes now counsel for Mr. Gray and hereby moves the Court to relieve the Office of the

Federal Public Defender from further representation in this case. In support of this motion

counsel would state that a conflict of interest has arisen that ethically requires counsel to

withdraw from representation.

       WHEREFORE, counsel moves the Court to relieve the Office of the Federal Public

Defender and appoint counsel from the Criminal Justice Act Panel to represent Mr. Gray.

                                             Respectfully submitted,



                                             /s/ Sumter L. Camp
                                             SUMTER L. CAMP
                                             Assistant Federal Public Defender
                                             Attorney for Defendant
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